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                IN THE UNITED STATES DISTRICT COURT FOR THE

                          DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                   8:06CR214
                              )
          v.                  )
                              )
JOSE RAMIREZ-SOLANO,          )                       ORDER
                              )
               Defendant.     )
______________________________)


           This matter is before the Court on defendant’s motion

for sentencing adjustment (Filing No. 124).            His motion is for a

downward departure premised on 18 U.S.C. § 3624(C) and 18 U.S.C.

§ 3553(b).   Defendant seeks downward departure based upon his

status as a deportable alien.       However, a review of this file

reflects that defendant entered a plea of guilty to a conspiracy

to distribute methamphetamine and has stipulated in his plea

agreement (Filing No. 67) that he should be held responsible for

more than 50 but less than 150 grams of actual methamphetamine.

           Pursuant to 21 U.S.C. § 841(a), the defendant is

subject to a term of imprisonment of not less than ten years nor

more than life.    The ten years is a mandatory minimum sentence,

and the provisions of the code to which he refers do not grant

the Court authority to sentence him below one hundred twenty

(120) months.    As this was the sentence imposed at the time of

his sentencing, defendant’s motion for sentencing adjustment will

be denied.   Accordingly,
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           IT IS ORDERED that defendant’s motion for sentencing

adjustment is denied.

           DATED this 17th day of June, 2008.

                                    BY THE COURT:

                                    /s/ Lyle E. Strom
                                    ______________________________
                                      LYLE E. STROM, Senior Judge
                                      United States District Court
